            Case 23-10870-JKS                           Doc 10           Filed 02/22/23 Entered 02/22/23 20:22:41                                                     Desc Main
                                                                        Document      Page 1 of 45

 Fill in this information to identify your case:

 Debtor 1
                     Christian G. Monne
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of New Jersey District of __________
                                                                                                (State)
 Case number           23-10870
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 1,035,900.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 4,033.63
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 1,039,933.63
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 989,526.33
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 20,515.96
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 28,521.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 1,038,563.29
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 14,405.85
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 13,274.82
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
            Case 23-10870-JKS                   Doc 10          Filed 02/22/23 Entered 02/22/23 20:22:41                              Desc Main
                  Christian Monne
                                                               Document      Page 2 of 45
                                                                                                                          23-10870
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        9,732.48
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                     20,515.96
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               20,515.96
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
             Case 23-10870-JKS                               Doc 10      Filed 02/22/23 Entered 02/22/23 20:22:41                            Desc Main
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Fill in this information to identify your case and this filing:

                     Christian G. Monne
Debtor 1
                     First Name              Middle Name         Last Name

Debtor 2
(Spouse, if filing)    First Name              Middle Name         Last Name


United States Bankruptcy Court for the: District of New
Jersey
                                                                                                                                                       Check if this is
Case number 23-10870                                                                                                                                   an amended
(if know)
                                                                                                                                                       filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                       What is the property? Check all that apply
                                                                                                                       Do not deduct secured claims or exemptions. Put the
    1.1 39 Graydon Terrace                                               Single-family home                            amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                         Duplex or multi-unit building                 Creditors Who Have Claims Secured by Property:
                                                                         Condominium or cooperative                    Current value of the      Current value of the
                                                                         Manufactured or mobile home                   entire property?          portion you own?
            Clifton NJ            07013
                                                                         Land                                          $ 576,900.00              $ 576,900.00
            City      State       ZIP Code
                                                                         Investment property
                                                                                                                       Describe the nature of your ownership
                                                                         Timeshare                                     interest (such as fee simple, tenancy by the
            Passaic County                                               Other                                         entireties, or a life estate), if known.

            County                                                     Who has an interest in the property? Check      Tenancy by the Entireties
                                                                       one
                                                                             Debtor 1 only                                Check if this is community property
                                                                             Debtor 2 only
                                                                             Debtor 1 and Debtor 2 only
                                                                             At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       $576,900.00 (Value) - $739,553.33 (Liens) = $0.00 (No Equity)

                                                                       What is the property? Check all that apply
                                                                                                                       Do not deduct secured claims or exemptions. Put the
    1.2 33 Graydon Terrace                                               Single-family home                            amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                         Duplex or multi-unit building                 Creditors Who Have Claims Secured by Property:
                                                                         Condominium or cooperative                    Current value of the      Current value of the
                                                                         Manufactured or mobile home                   entire property?          portion you own?
            Clifton NJ            07013
                                                                         Land                                          $ 459,000.00              $ 459,000.00
            City      State       ZIP Code
                                                                         Investment property
                                                                                                                       Describe the nature of your ownership
                                                                         Timeshare                                     interest (such as fee simple, tenancy by the
            Passaic County                                               Other                                         entireties, or a life estate), if known.

            County                                                     Who has an interest in the property? Check      Fee simple
                                                                       one
                                                                             Debtor 1 only                                Check if this is community property
                                                                             Debtor 2 only
                                                                             Debtor 1 and Debtor 2 only
                                                                             At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local

                                                                                                                                                                page 1 of 5
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                 First Name          Middle Name         Last Name
                                                                                   Document      Page 4 of 45     Case number(if known) 23-10870



                                                                                  property identification number:
                                                                                  $459,000.00 (Value) - $249,973.00 (Lien) = $209,027- $1,475.00 (Exemption) =
                                                                                  $207,552.00 (Non Exempt Equity)

  2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
      you have attached for Part 1. Write that number here...........................................................................................................................................➤            $ 1,035,900.00


 Part 2:        Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
    3.1 Make:Hyundai                                                              Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Palisade                                                                                                                                       amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2020
                                                                                       Debtor 2 only
           Approximate mileage: 33,000                                                                                                                             Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
               Other information:
                                                                                       At least one of the debtors and another                                     $ 0.00                                $ 0.00
              Lease. See Schedule G.
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                  $ 0.00



 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
  6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                     claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Household items                                                                                                                                                                                $ 1,200.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          Cellphone, TVs                                                                                                                                                                                 $ 300.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...




                                                                                                                                                                                                                      page 2 of 5
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Debtor 1         Christian G. Monne
                First Name            Middle Name           Last Name
                                                                                        Document      Page 5 of 45     Case number(if known) 23-10870



  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Clothing                                                                                                                                                                                     $ 750.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        Jewelry                                                                                                                                                                                      $ 150.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤           $ 2,400.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 25.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Capital One -4828                                                                                                                $ 984.28

        17.2. Savings account:                                      Capital One -4980                                                                                                                $ 0.35

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........




                                                                                                                                                                                                                 page 3 of 5
           Case 23-10870-JKS                            Doc 10        Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor 1        Christian G. Monne
              First Name          Middle Name     Last Name
                                                                     Document      Page 6 of 45     Case number(if known) 23-10870



  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
       Type of account                    Institution name
       401(k) or similar plan:            Fidelity Reliance 401(K)                                                                     $ 624.00
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:             $ 0.00
                                                                                                                 State:               $ 0.00
                                                                                                                 Local:               $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information....


                                                                                                                                                   page 4 of 5
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Debtor 1            Christian G. Monne
                  First Name            Middle Name           Last Name
                                                                                          Document      Page 7 of 45     Case number(if known) 23-10870



  31. Interests in insurance policies
               No
               Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
               No
               Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
               No
               Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
          off claims
               No
               Yes. Give specific information....
  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤             $ 1,633.63


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                     $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                $ 1,035,900.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 2,400.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 1,633.63
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 4,033.63                          Copy personal property total➤         +$
                                                                                                                                                                                                               4,033.63
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 1,039,933.63




                                                                                                                                                                                                                    page 5 of 5
           Case 23-10870-JKS                    Doc 10        Filed 02/22/23 Entered 02/22/23 20:22:41                                       Desc Main
                                                             Document      Page 8 of 45
 Fill in this information to identify your case:

                     Christian G. Monne
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of New Jersey District of __________
                                                                                    (State)
 Case number
  (If known)
                      23-10870
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                         4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)
     
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own                           exemption you claim

                                                           Copy the value from                       Check only one box
                                                           Schedule A/B                              for each exemption
                 39 Graydon Terrace                                                                                                 11 USC § 522(d)(1)
 Brief
 description:
                                                                   576,900.00
                                                                  $________________              27,900.00
                                                                                              ✔ $ ____________

                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        1.1
                 33 Graydon Terrace                                                                                                 11 USC § 522(d)(5)
 Brief
 description:
                                                                    459,000.00
                                                                  $________________            $ ____________
                                                                                               ✔  1,475.00
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        1.2
                 Household Goods - Household items                                                                                  11 USC § 522(d)(3)
 Brief
 description:
                                                                    1,200.00
                                                                  $________________              1,200.00
                                                                                              ✔ $ ____________

                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                            2
                                                                                                                                                         page 1 of __
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Debtor        Christian G. Monne                   Document
             _______________________________________________________
                                                                     Page 9 of 45                     23-10870
                                                                               Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                              Amount of the                       Specific laws that allow exemption
                                                                     Current value of the   exemption you claim
         on Schedule A/B that lists this property                    portion you own
                                                                    Copy the value from    Check only one box
                                                                     Schedule A/B           for each exemption
               Electronics - Cellphone, TVs                                                                                      11 USC § 522(d)(3)
Brief
description:
                                                                       300.00
                                                                      $________________        300.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:         7
               Clothing - Clothing                                                                                               11 USC § 522(d)(3)
Brief
description:                                                          $________________
                                                                       750.00               
                                                                                            ✔ $ ____________
                                                                                                750.00
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:         11
               Jewelry - Jewelry                                                                                                 11 USC § 522(d)(4)
Brief
description:                                                          $________________
                                                                       150.00               
                                                                                            ✔ $ ____________
                                                                                                150.00
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        12
               Cash on hand (Cash on Hand)                                                                                       11 USC § 522(d)(5)
Brief
description:
                                                                       25.00
                                                                      $________________        0.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:          16
               Capital One -4828 (Checking Account)                                                                              11 USC § 522(d)(5)
Brief
description:
                                                                       984.28
                                                                      $________________        0.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:          17.1
               Capital One -4980 (Savings Account)                                                                               11 USC § 522(d)(5)
Brief
description:
                                                                       0.35
                                                                      $________________        0.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:           17.2
               Fidelity Reliance 401(K)                                                                                          11 USC § 522(d)(12)
Brief
description:
                                                                       624.00
                                                                      $________________        624.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:           21

Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                               2     2
                                                                                                                                                 page ___ of __
              Case 23-10870-JKS                              Doc 10      Filed 02/22/23 Entered 02/22/23 20:22:41                          Desc Main
                                                                        Document     Page 10 of 45
  Fill in this information to identify your case:

  Debtor 1           Christian G. Monne
                     First Name                                 Last Name
                                          Middle Name

  Debtor 2
  (Spouse, if filing)      First Name
                                               Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: District of New Jersey

  Case number 23-10870                                                                                                                              Check if this is
  (if know)                                                                                                                                         an amended
                                                                                                                                                    filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A            Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of           Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not            collateral that   portion If any
                                                                                                              deduct the value    supports this
                                                                                                              of collateral.      claim
 2.1                                                              Describe the property that secures the claim: $ 100,000.00      $ 576,900.00      $ 0.00

                                                                39 Graydon Terrace, Clifton, NJ 07013 - $576,900.00 $576,900.00
       AGSCO Corporation
                                                                (Value) - $770,931.33 (Liens) = $0.00 (No Equity)
       Creditor’s Name
       60 Chapin Road
       Number        Street
                                                               As of the date you file, the claim is: Check all
       Pine Brook NJ              07058                        that apply.
       City             State     ZIP Code
                                                                  Contingent
       Who owes the debt? Check one.                              Unliquidated
         Debtor 1 only                                            Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
         At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                  secured car loan)
              Check if this claim relates to a                    Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                      Judgment lien from a lawsuit
                                                                  Other (including a right to offset)
       Date debt was incurred 12/21/22
                                                               Last 4 digits of account number DJ-166172-2022




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                   page 1 of 4
               Christian G. Monne
Debtor        Case     23-10870-JKS
               First Name          Middle Name           Doc 10
                                                 Last Name           Filed 02/22/23 Entered 02/22/23Case
                                                                                                     20:22:41          Desc
                                                                                                         number(if known)     Main
                                                                                                                          23-10870
                                                                    Document     Page 11 of 45
 2.2                                                           Describe the property that secures the claim: $ 103,000.00       $ 576,900.00   $ 64,733.00

                                                              39 Graydon Terrace, Clifton, NJ 07013 - $576,900.00 $576,900.00
       AGSCO Corporation
                                                              (Value) - $770,931.33 (Liens) = $0.00 (No Equity)
       Creditor’s Name
       60 Chapin Road
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Pine Brook NJ              07058                      that apply.
       City               State   ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred 06/14/22
                                                             Last 4 digits of account number CV-012530-2021

 2.3                                                           Describe the property that secures the claim: $ 249,973.00       $ 459,000.00   $ 0.00

                                                              33 Graydon Terrace, Clifton, NJ 07013 - $459,000.00
       Citadel Servicing Corporation
       Creditor’s Name
       9726 Old Bailes Rd Ste 2
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Fort Mill SC            29707                         that apply.
       City          State     ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred 2021
                                                             Last 4 digits of account number 7952

 2.4                                                           Describe the property that secures the claim: $ 384,869.00       $ 576,900.00   $ 0.00

                                                              39 Graydon Terrace, Clifton, NJ 07013 - $576,900.00
       Rocket Mortgage
       Creditor’s Name
       1050 Woodward Ave
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Detroit MI             48226                          that apply.
       City       State       ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred 2019
                                                             Last 4 digits of account number 3476




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 4
               Christian G. Monne
Debtor        Case     23-10870-JKS
               First Name           Middle Name           Doc 10
                                                  Last Name           Filed 02/22/23 Entered 02/22/23Case
                                                                                                      20:22:41          Desc
                                                                                                          number(if known)     Main
                                                                                                                           23-10870
                                                                     Document     Page 12 of 45
 2.5                                                            Describe the property that secures the claim: $ 42,468.40        $ 576,900.00   $ 0.00

                                                               39 Graydon Terrace, Clifton, NJ 07013 - $576,900.00
       Secretary of Housing and Urban
       Creditor’s Name
       Development
                                                              As of the date you file, the claim is: Check all
       451 Seventh Street SW                                  that apply.
       Number        Street
                                                                 Contingent
       Washington DC                20410                        Unliquidated
       City                 State   ZIP Code
                                                                 Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                        Nature of lien. Check all that apply.
         Debtor 2 only                                           An agreement you made (such as mortgage or
                                                                 secured car loan)
         Debtor 1 and Debtor 2 only
                                                                 Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another
                                                                 Judgment lien from a lawsuit
              Check if this claim relates to a                   Other (including a right to offset)
              community debt
                                                              Last 4 digits of account number 3426253476
       Date debt was incurred 05/17/2022

 2.6                                                            Describe the property that secures the claim: $ 17,062.53        $ 576,900.00   $ 17,062.53

                                                               39 Graydon Terrace, Clifton, NJ 07013 - $576,900.00 $576,900.00
       State of New Jersey, Division of Taxation
                                                               (Value) - $770,931.33 (Liens) = $0.00 (No Equity)
       Creditor’s Name
       Compliance and Enforcement -
       Number        Street
                                                              As of the date you file, the claim is: Check all
       Bankruptcy Unit                                        that apply.
                                                                 Contingent
       3 John Fitch Way, 5th Floor, Po box 245                   Unliquidated
                                                                 Disputed
       Trenton NJ              08695
       City        State       ZIP Code                       Nature of lien. Check all that apply.
       Who owes the debt? Check one.                             An agreement you made (such as mortgage or
         Debtor 1 only                                           secured car loan)
                                                                 Statutory lien (such as tax lien, mechanic’s lien)
         Debtor 2 only
                                                                 Judgment lien from a lawsuit
         Debtor 1 and Debtor 2 only
                                                                 Other (including a right to offset)
         At least one of the debtors and another
                                                              Last 4 digits of account number DJ-089148-2021
              Check if this claim relates to a
              community debt

       Date debt was incurred 07/22/21

 2.7                                                            Describe the property that secures the claim: $ 11,295.60        $ 576,900.00   $ 0.00

                                                               39 Graydon Terrace, Clifton, NJ 07013 - $576,900.00 $576,900.00
       State of New Jersey, Division of Taxation
                                                               (Value) - $770,931.33 (Liens) = $0.00 (No Equity)
       Creditor’s Name
       Compliance and Enforcement -
       Number        Street
                                                              As of the date you file, the claim is: Check all
       Bankruptcy Unit                                        that apply.
                                                                 Contingent
       3 John Fitch Way, 5th Floor, Po box 245                   Unliquidated
                                                                 Disputed
       Trenton NJ              08695
       City        State       ZIP Code                       Nature of lien. Check all that apply.
       Who owes the debt? Check one.                             An agreement you made (such as mortgage or
         Debtor 1 only                                           secured car loan)
                                                                 Statutory lien (such as tax lien, mechanic’s lien)
         Debtor 2 only
                                                                 Judgment lien from a lawsuit
         Debtor 1 and Debtor 2 only
                                                                 Other (including a right to offset)
         At least one of the debtors and another
                                                              Last 4 digits of account number DJ-109711-2022
              Check if this claim relates to a
              community debt

       Date debt was incurred 09/01/22




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 4
                Christian G. Monne
Debtor         Case     23-10870-JKS
                First Name           Middle Name           Doc 10
                                                   Last Name           Filed 02/22/23 Entered 02/22/23Case
                                                                                                       20:22:41          Desc
                                                                                                           number(if known)     Main
                                                                                                                            23-10870
                                                                      Document     Page 13 of 45
 2.8                                                             Describe the property that secures the claim: $ 80,857.80                    $ 576,900.00   $ 80,857.80

                                                                39 Graydon Terrace, Clifton, NJ 07013 - $576,900.00 $576,900.00
        The Fundworks, LLC
                                                                (Value) - $770,931.33 (Liens) = $0.00 (No Equity)
        Creditor’s Name
        5990 N. Sepulveda Blvd #310
        Number       Street
                                                               As of the date you file, the claim is: Check all
        Van Nuys CA              91411                         that apply.
        City           State     ZIP Code
                                                                  Contingent
        Who owes the debt? Check one.                             Unliquidated
          Debtor 1 only                                           Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                           Nature of lien. Check all that apply.
          At least one of the debtors and another                 An agreement you made (such as mortgage or
                                                                  secured car loan)
               Check if this claim relates to a                   Statutory lien (such as tax lien, mechanic’s lien)
               community debt                                     Judgment lien from a lawsuit
                                                                  Other (including a right to offset)
        Date debt was incurred 08/03/21
                                                               Last 4 digits of account number J-094064-2021

       Add the dollar value of your entries in Column A on this page. Write that number here:                          $ 989,526.33


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

         HomansPeck, LLC                                                            On which line in Part 1 did you enter the creditor? 2.2
         Creditor’s Name                                                            Last 4 digits of account number
         Michael D. Homans
         Number        Street
         230 Sugartown Road, Suite 218

         Wayne PA               19087
         City        State      ZIP Code

         Maurice Wutscher LLP                                                       On which line in Part 1 did you enter the creditor? 2.8
         Creditor’s Name                                                            Last 4 digits of account number
         5 Walter E Foran Boulevard
         Number        Street
         Suite 2007

         Flemington NJ                08822
         City                State    ZIP Code

         Steven J. Mitnick, Esq.                                                    On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                            Last 4 digits of account number
         49 Old Turnpike Road
         Number        Street
         Po Box 530

         Oldwick NJ              08858
         City         State      ZIP Code

         United States Attorney General - Attorney General                          On which line in Part 1 did you enter the creditor? 2.5
         Creditor’s Name                                                            Last 4 digits of account number
         United States Department of Justice
         Number        Street
         Ben Franklin Station - P.O. Box 683

         Washington DC                 20044
         City                State     ZIP Code




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
             Case 23-10870-JKS                               Doc 10      Filed 02/22/23 Entered 02/22/23 20:22:41                                   Desc Main
                                                                        Document     Page 14 of 45
   Fill in this information to identify your case:

                   Christian G. Monne
   Debtor 1
                   First Name                                    Last Name
                                             Middle Name

   Debtor 2
   (Spouse, if filing)     First Name
                                                   Middle Name
                                                                      Last Name



   United States Bankruptcy Court for the: District of New Jersey

   Case number 23-10870                                                                                                                                         Check if this is
   (if know)                                                                                                                                                    an amended
                                                                                                                                                                filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                     Total claim   Priority        Nonpriority
                                                                                                                                                   amount          amount
  2.1                                                                        Last 4 digits of account number
         Internal Revenue Service                                                                                                    $ 20,515.96   $ 9,853.50      $ 10,662.46
         Priority Creditor's Name
                                                                             When was the debt incurred?

         PO Box 7346                                                         As of the date you file, the claim is: Check all
         Number        Street                                                that apply.
         Philadelphia PA                19101                                   Contingent
         City              State        ZIP Code                                Unliquidated
         Who owes the debt? Check one.                                          Disputed
             Debtor 1 only
                                                                             Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                                Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                                Taxes and certain other debts you owe the
             At least one of the debtors and another                            government
             Check if this claim relates to a community                         Claims for death or personal injury while you were
             debt                                                               intoxicated
         Is the claim subject to offset?                                       Other. Specify
             No
             Yes
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 4
              Christian G. Monne
 Debtor      Case     23-10870-JKS
                 First Name         Middle Name                 Doc 10
                                                        Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                          20:22:41          Desc
                                                                                                              number(if known)     Main
                                                                                                                               23-10870
                                                                         Document     Page 15 of 45

  4.1                                                                    Last 4 digits of account number 4213
          Amex                                                                                                                              $ 5,165.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 2018

          Po Box 297871                                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Fort Lauderdale FL                 33329                          Unliquidated
          City                     State     ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                    Last 4 digits of account number 0893
          Amex                                                                                                                              $ 1,394.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 2013

          Po Box 297871                                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Fort Lauderdale FL                 33329                          Unliquidated
          City                     State     ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                    Last 4 digits of account number ****
          Capital One                                                                                                                      $ 11,076.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 2012

          Po Box 31293                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Salt Lake City UT                84131                            Unliquidated
          City                   State     ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                        page 2 of 4
              Christian G. Monne
 Debtor      Case     23-10870-JKS
                 First Name            Middle Name           Doc 10
                                                     Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                       20:22:41          Desc
                                                                                                           number(if known)     Main
                                                                                                                            23-10870
                                                                      Document     Page 16 of 45
  4.4                                                                 Last 4 digits of account number 16**
          Credit Collection Services                                                                                                     $ 245.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 2022

          725 Canton St                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Norwood MA                  02062                              Unliquidated
          City           State        ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.5                                                                 Last 4 digits of account number
          E-ZPass Customer Service Center                                                                                                  $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          375 NJ-21                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Newark NJ              07114                                   Unliquidated
          City        State      ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                 Last 4 digits of account number ****
          JPMCB Card Services                                                                                                           $ 1,603.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 2020

          Po Box 15369                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Wilmington DE                 19850                            Unliquidated
          City                State     ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                       page 3 of 4
                Christian G. Monne
 Debtor        Case     23-10870-JKS
                 First Name           Middle Name           Doc 10
                                                    Last Name         Filed 02/22/23 Entered 02/22/23Case
                                                                                                      20:22:41          Desc
                                                                                                          number(if known)     Main
                                                                                                                           23-10870
                                                                     Document     Page 17 of 45
  4.7                                                                Last 4 digits of account number ****
          JPMCB Card Services                                                                                                                                       $ 9,038.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2019

          Po Box 15369                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Wilmington DE               19850                             Unliquidated
          City                State   ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        United States Attorney General - Attorney General                       On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                Line 2.1    of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        United States Department of Justice
        Number       Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Ben Franklin Station - P.O. Box 683                                     Claims
                                                                                Last 4 digits of account number
        Washington DC                 20044
        City                  State   ZIP Code

   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

   Total claims          6a. Domestic support obligations                                            6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                               6b.   $ 20,515.96
                         government
                         6c. Claims for death or personal injury while you were                      6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that              6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                         6e.
                                                                                                              $ 20,515.96



                                                                                                                Total claim

   Total claims          6f. Student loans                                                           6f.   $ 0.00
   from Part 2
                         6g. Obligations arising out of a separation agreement or                    6g.   $ 0.00
                             divorce that you did not report as priority claims
                         6h. Debts to pension or profit-sharing plans, and other                     6h.   $ 0.00
                             similar debts
                         6i. Other. Add all other nonpriority unsecured claims. Write that           6i.   $ 28,521.00
                             amount here.
                         6j. Total. Add lines 6f through 6i.                                         6j.
                                                                                                              $ 28,521.00




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 4 of 4
            Case 23-10870-JKS                          Doc 10        Filed 02/22/23 Entered 02/22/23 20:22:41                           Desc Main
                                                                    Document     Page 18 of 45
  Fill in this information to identify your case:

  Debtor 1
                     Christian G. Monne
                      First Name                                   Last Name
                                            Middle Name

  Debtor 2
  (Spouse, if filing)       First Name
                                                   Middle Name
                                                                         Last Name



  United States Bankruptcy Court for the: District of New Jersey

  Case number 23-10870                                                                                                                      Check if this is
  (if know)                                                                                                                                 an amended
                                                                                                                                            filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                             State what the contract or lease is for

 2.1                                                                                          2020 Hyundai Palisade
          Hyundai Capital America
          Name
          4000 Macarthur Blvd Ste
          Street
          Newport Beach CA                 92660
          City                     State   ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                               page 1 of 1
            Case 23-10870-JKS                         Doc 10    Filed 02/22/23 Entered 02/22/23 20:22:41                        Desc Main
                                                               Document     Page 19 of 45
Fill in this information to identify your case:

Debtor 1
                Christian G. Monne
                     First Name                            Last Name
                                        Middle Name

Debtor 2
(Spouse, if filing)        First Name
                                             Middle Name
                                                                Last Name



United States Bankruptcy Court for the: District of New Jersey

Case number 23-10870                                                                                                                   Check if this is
(if know)                                                                                                                              an amended
                                                                                                                                       filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:




Official Form 106H                                                      Schedule H: Your Codebtors                                              page 1 of 1
            Case 23-10870-JKS                  Doc 10      Filed 02/22/23 Entered 02/22/23 20:22:41                             Desc Main
                                                          Document     Page 20 of 45
 Fill in this information to identify your case:

                      Christian G. Monne
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of New Jersey District
                                                                                tate)
 Case number            23-10870
                     ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed                                     ✔
    information about additional         Employment status                                                             Employed
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                               Outside Sales                                Teacher
                                         Occupation                 __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Yarde Metals, Inc.                            West New York Board of Ed
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address           45 Newell Street
                                                                   _______________________________________         6028 Broadway
                                                                                                                ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                      Southington, CT 06489
                                                                   _______________________________________          West New York, NJ 07093
                                                                                                                ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________
                                                                   6 Months                                       ________________________
                                                                                                                   21 years


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.      13,725.00               10,148.40
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________
                                                                                                       0.00      +            0.00
                                                                                                                     $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.      13,725.00
                                                                                              $__________               10,148.40
                                                                                                                     $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
           Case 23-10870-JKS
             Christian G. Monne
                                                          Doc 10           Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor 1         _______________________________________________________                                                 23-10870
                 First Name         Middle Name               Last Name
                                                                          Document     Page 21 of Case
                                                                                                   45 number (if known)_____________________________________
                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       13,725.00
                                                                                                                          $___________               10,148.40
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        2,177.57
                                                                                                                         $____________                2,480.24
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                  761.14
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                  130.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                  855.10
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.          194.70
                                                                                                                         $____________                1,222.08
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                  148.80
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
                                     Auto Lease, Summer Savings                                                         + $____________
     5h. Other deductions. Specify: __________________________________                                           5h.           341.08         +       1,014.84
                                                                                                                                                  $_____________
     Prudential Financial Ins.
    _____________________________________________________________                                                        $____________                  142.00
                                                                                                                                                  $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        2,713.35
                                                                                                                         $____________                6,754.20
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       11,011.65
                                                                                                                         $____________                3,394.20
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                     0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           11,011.65
                                                                                                                         $___________     +           3,394.20
                                                                                                                                                  $_____________    =     14,405.85
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                          14,405.85
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
            Case 23-10870-JKS             Doc 10         Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
                Christian G. Monne                      Document     Page 22 of 45        23-10870
 Debtor 1                                                            _               Case number (if known)
               First Name   Middle Name     Last Name



                                               Continuation Sheet for Official Form 106I


1. Describe Employment:

Debtor: Christian G. Monne

Occupation: Regional Manager

Name of Employer: Sponge Jet

Employer's Address: 14 Patterson Lane, Portsmouth, NH 03801

Length of Employment: 1 Month

-------




   Official Form 106I                                      Schedule I: Your Income
             Case 23-10870-JKS                   Doc 10        Filed 02/22/23 Entered 02/22/23 20:22:41                                        Desc Main
                                                              Document     Page 23 of 45
  Fill in this information to identify your case:

                     Christian G. Monne
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of New Jersey
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                       23-10870                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             Daughter                                 7              No
                                                                                           _________________________                ________
   names.                                                                                                                                          
                                                                                                                                                   ✔ Yes
                                                                                            Daughter
                                                                                           _________________________                 4
                                                                                                                                    ________        No
                                                                                                                                                   
                                                                                                                                                   ✔ Yes

                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  3,399.95
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   125.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
              Case 23-10870-JKS                  Doc 10           Filed 02/22/23 Entered 02/22/23 20:22:41                      Desc Main
                                                                 Document     Page 24 of 45
                    Christian G. Monne                                                                                23-10870
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      440.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                       75.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      440.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                    1,200.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                    2,615.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      205.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      120.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                       85.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      230.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      583.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      175.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                      657.16
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
             Case 23-10870-JKS                 Doc 10           Filed 02/22/23 Entered 02/22/23 20:22:41                          Desc Main
                                                               Document     Page 25 of 45
                   Christian G. Monne                                                                                   23-10870
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Mortgage 33 Graydon St.
                                                                                                                                      2,924.71
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                13,274.82
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                13,274.82
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      14,405.85
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                13,274.82
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  1,131.03
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
               Case 23-10870-JKS                   Doc 10     Filed 02/22/23 Entered 02/22/23 20:22:41                                Desc Main
                                                             Document     Page 26 of 45
Fill in this information to identify your case:

Debtor 1           Christian G. Monne
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of New Jersey  District of __________
                                                                                (State)
Case number         23-10870
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Christian G. Monne
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              02/22/2023
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
            Case 23-10870-JKS                            Doc 10        Filed 02/22/23 Entered 02/22/23 20:22:41                                      Desc Main
                                                                      Document     Page 27 of 45

 Fill in this information to identify your case:

                    Christian G. Monne
 Debtor 1
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing)   First Name          Middle Name            Last Name



 United States Bankruptcy Court for the: District of New Jersey

 Case number        23-10870
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                              Debtor 1                                            Debtor 2

                                                                              Sources of income         Gross income              Sources of income          Gross income
                                                                              Check all that apply      (before deductions        Check all that apply       (before deductions
                                                                                                        and exclusions)                                      and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                               Wages,              $ 4,945.88                      Wages,              $
                                                                                 commissions,                                        commissions,
                                                                                 bonuses, tips                                       bonuses, tips
                                                                                 Operating a business                                Operating a business


         For last calendar year:
                                                                                 Wages,              $ 34,333.00                     Wages,              $
         (January 1 to December 31, 2022                                         commissions,                                        commissions,
                                                                                 bonuses, tips                                       bonuses, tips
                                                                                 Operating a business                                Operating a business


         For the calendar year before that:
                                                                                 Wages,              $ 31,938.75                     Wages,              $
         (January 1 to December 31, 2021                                         commissions,                                        commissions,
                                                                                 bonuses, tips                                       bonuses, tips
                                                                                 Operating a business                                Operating a business



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 6
               Case 23-10870-JKS                        Doc 10       Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor          Christian G. Monne
               First Name     Middle Name       Last Name
                                                                    Document     Page 28 of 45     Case number(if known) 23-10870



5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                         Debtor 1                                                                  Debtor 2

                                         Sources of income                     Gross income from each              Sources of income   Gross income from each
                                         Describe below.                       source                              Describe below.     source
                                                                               (before deductions and                                  (before deductions and
                                                                               exclusions)                                             exclusions)
  From January 1 of
  current year until the
  date you filed for
  bankruptcy:
  For last calendar year:
                                            Unemployment                        $ 22,964.00
  (January 1 to December
  31, 2022
  For the calendar year
  before that:                              CGM & Daughters                     $ 31,800.00
                                            Corp.
  (January 1 to December                                                        $ 19,208.00
  31, 2021                                  Unemployment
                                                                                $ 44,723.52
                                            TransAmerica
                                            Retirement


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.

Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 2 of 6
              Case 23-10870-JKS                      Doc 10         Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor          Christian G. Monne
               First Name     Middle Name    Last Name
                                                                   Document     Page 29 of 45     Case number(if known) 23-10870



         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3 of 6
              Case 23-10870-JKS                           Doc 10       Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor            Christian G. Monne
                 First Name         Middle Name   Last Name
                                                                      Document     Page 30 of 45     Case number(if known) 23-10870



                                                                      Description and value of any property transferred              Date payment      Amount of
                                                                                                                                     or transfer was   payment
                                                                                                                                     made
                                                                                                                                     01/19/2023        $ 2,500.00
                                                                     Legal Fee
          Scura, Wigfield, Heyer, Stevens &                                                                                                            $
          Person Who Was Paid
          Cammarota, LLP

          1599 Hamburg turnpike
          Number         Street
          Wayne NJ                07470
          City         State      ZIP Code
          dstevens@scura.com
          Email or website address
          Debtor
          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:          Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:          Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 4 of 6
                Case 23-10870-JKS                      Doc 10       Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor           Christian G. Monne
                First Name       Middle Name   Last Name
                                                                   Document     Page 31 of 45     Case number(if known) 23-10870



    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:         Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                      Describe the nature of the business                         Employer Identification number
         CGM & Daughters Corporation                                                                                              Do not include Social Security number or
         Business Name                                                                                                            ITIN.
                                                                     Manufacturing Ch. 7 File: 03/31/2022 Case No.
         39 Grayson Terrace                                          : 22-12609
         Number        Street                                                                                                     EIN: 8   3   –3   8   7   2   4   8   0
         Clifton NJ          07013                                   Name of accountant or bookkeeper                             Dates business existed
         City       State    ZIP Code
                                                                     Performance Tax Professionals LLC                            From 07/01/2019 To 03/31/2022



28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 5 of 6
              Case 23-10870-JKS                        Doc 10       Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor         Christian G. Monne
              First Name         Middle Name   Last Name
                                                                   Document     Page 32 of 45     Case number(if known) 23-10870




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Christian G. Monne
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 02/22/2023                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
            Case 23-10870-JKS                  Doc 10       Filed 02/22/23 Entered 02/22/23 20:22:41                               Desc Main
                                                           Document     Page 33 of 45
 Fill in this information to identify your case:                                                                 Check as directed in lines 17 and 21:
                                                                                                                 According to the calculations required by
 Debtor 1           Christian G. Monne
                   __________________________________________________________________                            this Statement:
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________                             1. Disposable income is not determined
                                                                                                                 ✔
 (Spouse, if filing) First Name             Middle Name               Last Name                                        under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         District of New  Jersey
                                                       District of __________                                       2. Disposable income is determined
                                                                                                                        under 11 U.S.C. § 1325(b)(3).
 Case number        23-10870
                    ___________________________________________
 (If known)                                                                                                       3. The commitment period is 3 years.
                                                                                                                 ✔
                                                                                                                    4. The commitment period is 5 years.


                                                                                                                  Check if this is an amended filing


Official Form 122C–1
Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                  10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :         Ca lc ula te Y our Ave ra ge M ont hly I nc ome

1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
    
    ✔     Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                      Column A             Column B
                                                                                                      Debtor 1             Debtor 2 or
                                                                                                                           non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                           5,410.65
                                                                                                      $__________                 4,321.83
                                                                                                                             $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                               0.00
                                                                                                      $__________                     0.00
                                                                                                                             $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                          0.00
                                                                                                      $_________                      0.00
                                                                                                                             $__________

5. Net income from operating a business, profession, or
                                                                      Debtor 1     Debtor 2
    farm
                                                                            0.00
                                                                        $______         0.00
                                                                                   $______
    Gross receipts (before all deductions)
    Ordinary and necessary operating expenses                              0.00 – $______
                                                                     – $______         0.00

                                                                                               Copy
    Net monthly income from a business, profession, or farm                 0.00        0.00 here             0.00                  0.00
                                                                        $______    $______            $_________            $__________

6. Net income from rental and other real property                     Debtor 1     Debtor 2

    Gross receipts (before all deductions)                                  0.00
                                                                        $______         0.00
                                                                                   $______

    Ordinary and necessary operating expenses                              0.00 – $______
                                                                     – $______         0.00

                                                                                               Copy
    Net monthly income from rental or other real property                   0.00
                                                                        $______         0.00 here
                                                                                   $______                     0.00
                                                                                                      $_________                     0.00
                                                                                                                            $__________



Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                             page 1
              Case 23-10870-JKS                                             Doc 10
                                                               Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor 1                Christian G. Monne                  Document
                       _______________________________________________________
                                                                               Page 34 of Case
                                                                                           45 number (if known)_____________________________________
                                                                                                                23-10870
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A              Column B
                                                                                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                                                                                          non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                        0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

8. Unemployment compensation                                                                                                                                                 0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you .....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                                0.00
                                                                                                                  $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired                                                                                                           0.00
     under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________          $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                                        0.00
                                                                                                                                                               + $____________                      0.00
                                                                                                                                                                                          + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                   5,410.65
                                                                                                                                                                     $____________    +         4,321.83
                                                                                                                                                                                           $___________        =      9,732.48
                                                                                                                                                                                                                   $________
                                                                                                                                                                                                                   Total average
                                                                                                                                                                                                                   monthly income




Pa rt 2 :           De te rm ine How to M e a sure Y our De duc t ions from Inc om e

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                  9,732.48
                                                                                                                                                                                                               $_____________
13. Calculate the marital adjustment. Check one:

         You are not married. Fill in 0 below.
         You are married and your spouse is filing with you. Fill in 0 below.
     
     ✔    You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                     + $___________
           Total ................................................................................................................................................               0.00
                                                                                                                                                                       $___________
                                                                                                                                                                                       Copy here             ─____________
                                                                                                                                                                                                                        0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                        9,732.48
                                                                                                                                                                                                                $ __________




Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                              page 2
               Case 23-10870-JKS                                          Doc 10
                                                              Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor 1              Christian G. Monne                   Document
                      _______________________________________________________
                                                                              Page 35 of Case
                                                                                          45 number (if known)_____________________________________
                                                                                                               23-10870
                       First Name              Middle Name                       Last Name




15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                  ...........................................................................................................................................................................................          9,732.48
                                                                                                                                                                                                                                             $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                               116,789.76
                                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                   NJ
                                                                                                              _________

     16b. Fill in the number of people in your household.                                                     _________
                                                                                                                       4


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                                143,987.00
                                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.    
             ✔      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :              Ca lc ula te Y our Com m itm e nt Pe riod Unde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ............................................................................................................................                                                             9,732.48
                                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. .............................................................................................
                                                                                                                                                                                                                                            ─ $__________
                                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                                         9,732.48
                                                                                                                                                                                                                                              $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                                9,732.48
                                                                                                                                                                                                                                             $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                               116,789.76
                                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                                               143,987.00
                                                                                                                                                                                                                                             $___________


21. How do the lines compare?


     
     ✔     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                           page 3
            Case 23-10870-JKS               Doc 10    Filed 02/22/23 Entered 02/22/23 20:22:41 Desc Main
Debtor 1     Christian  G. Monne                   Document
              _______________________________________________________
                                                                      Page 36 of Case
                                                                                  45 number (if known)_____________________________________
                                                                                                       23-10870
              First Name     Middle Name        Last Name



Pa rt 4 :    Sign Be low


             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

              /s/ Christian G. Monne
                 ___________________________________________________                 ____________________________________
                Signature of Debtor 1                                                    Signature of Debtor 2


                     02/22/2023
                Date _________________                                                   Date _________________
                       MM / DD   / YYYY                                                       MM /   DD    / YYYY

             If you checked 17a, do NOT fill out or file Form 122C–2.
             If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C–1             Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                              page 4
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AGSCO Corporation                                       Rocket Mortgage
60 Chapin Road                                          1050 Woodward Ave
Pine Brook, NJ 07058                                    Detroit, MI 48226


Amex                                                    Secretary of Housing and Urban Development
Po Box 297871                                           451 Seventh Street SW
Fort Lauderdale, FL 33329                               Washington, DC 20410


Capital One                                             State of New Jersey, Division of Taxation
Po Box 31293                                            Compliance and Enforcement - Bankruptcy
Salt Lake City, UT 84131                                3 John Fitch Way, 5th Floor, Po box 245
                                                        Trenton, NJ 08695

Citadel Servicing Corporation
9726 Old Bailes Rd Ste 2                                Steven J. Mitnick, Esq.
Fort Mill, SC 29707                                     49 Old Turnpike Road
                                                        Po Box 530
                                                        Oldwick, NJ 08858
Credit Collection Services
725 Canton St
Norwood, MA 02062                                       The Fundworks, LLC
                                                        5990 N. Sepulveda Blvd #310
                                                        Van Nuys, CA 91411
E-ZPass Customer Service Center
375 NJ-21
Newark, NJ 07114                                        United States Attorney General - Attorney Gen
                                                        United States Department of Justice
                                                        Ben Franklin Station - P.O. Box 683
HomansPeck, LLC                                         Washington, DC 20044
Michael D. Homans
230 Sugartown Road, Suite 218
Wayne, PA 19087


Hyundai Capital America
4000 Macarthur Blvd Ste
Newport Beach, CA 92660


Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101


JPMCB Card Services
Po Box 15369
Wilmington, DE 19850


Maurice Wutscher LLP
5 Walter E Foran Boulevard
Suite 2007
Flemington, NJ 08822


New Jersey Attorney General Office Division o
Richard J. Hughes Justice Complex
25 Market Street, P.O. Box 112
Trenton, NJ 08625
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                              United States Bankruptcy Court
                              District of New Jersey




         Christian G. Monne
In re:                                                          Case No. 23-10870

                                                                Chapter   13
                     Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              02/22/2023                         /s/ Christian G. Monne
Date:
                                                Signature of Debtor



                                                Signature of Joint Debtor
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

        You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $78     administrative fee
                                                                 +          $15     trustee surcharge
        Your debts are primarily consumer debts.
                                                                           $338     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose.”                                     debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
        Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                                                                 may deny your discharge.
                      for family farmers or
                      fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                                                                 debts are not discharged under the law.
                      for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                      income
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $571    administrative fee
 state, you must file a second form —the                                  $1,738    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200   filing fee                                    future earnings. If the court approves your
 +           $78   administrative fee                            plan, the court will allow you to repay your
            $278   total fee
                                                                 debts, as adjusted by the plan, within 3 years or
                                                                 5 years, depending on your income and other
 Similar to chapter 13, chapter 12 permits
                                                                 factors.
 family farmers and fishermen to repay their
 debts over a period of time using future                        After you make all the payments under your
 earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
 not paid.                                                       debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
                                                                     most student loans,
             individuals with regular
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee                                        debts for fraud or defalcation while acting
 +          $78    administrative fee                                 in a fiduciary capacity,
           $313    total fee
                                                                     most criminal fines and restitution
                                                                      obligations,
 Chapter 13 is for individuals who have regular
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your                         personal injury, and
 debts are not more than certain dollar amounts                      certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                 A married couple may file a bankruptcy case
     Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
 mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
 for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)


Scura Wigfield, Heyer, Stevens & Cammarota LLP
1599 Hamburg Turnpike
Wayne, NJ 07470
973-696-8391
dstevens@scura.com




In Re:
                                                                  Case No.:            23-10870
                                                                                 ____________________

Christian G. Monne                                                Chapter:                13

                                                                  Judge:         ____________________


         DISCLOSURE OF CHAPTER 13 DEBTOR’S ATTORNEY COMPENSATION

  1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for
  the debtor(s) and that compensation was paid to me within one year before the filed date of the petition, or
  agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in connection
  with this bankruptcy case is as follows:
            Under D.N.J. LBR 2016-5(b), I have agreed to accept for all legal services required to confirm
           a plan, subject to the exclusions listed below, including administrative services that may occur
           postconfirmation, a flat fee in the amount of $ _________________. I understand that I must
           demonstrate that additional services were unforeseeable at the time of the filing of this disclosure
           if I seek additional compensation and reimbursement of necessary expenses.

           Legal services on behalf of the debtor in connection with the following are not included in the flat
           fee:
           Representation of the debtor in:
                   adversary proceedings,
                   loss mitigation/loan modification efforts,
                   post-confirmation filings and matters brought before the Court.

           I have received:                                                    $ ________________
                     The balance due is:                                       $ ________________
                     The balance  will  will not be paid through the plan.
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         Under D.N.J. LBR 2016-5(c), I have agreed to accept for legal services provided on behalf of
                                                         425.00
        the debtor in this case, an hourly fee of $ _______________.    The hourly fee charged by other
                                                                                         175.00
        members of my firm that may provide services to this client range from $_______________         to
                 425.00
        $__________________.       I understand that I must receive the Court’s approval of any fees or
        expenses to be paid to me in this case post petition pursuant to D.N.J. LBR 2016-1.

                I have received:                                             2,500.00
                                                                           $ ________________

2.      The source of the funds paid to me was:
         Debtor(s)                 Other (specify below)
        _____________________________________________________________________________

        _____________________________________________________________________________

3.      If a balance is due, the source of future compensation to be paid to me is:
         Debtor(s)                 Other (specify below)
        _____________________________________________________________________________

        _____________________________________________________________________________

4.     I  have or  have not agreed to share compensation with another person(s) unless they are
members of my law firm. If I have agreed to share compensation with a person(s) who is not a member of
my law firm, a copy of that agreement and a list of the people sharing in the compensation is attached.

5.      (a) The Debtor(s) agree that coverage counsel may appear at hearings on their behalf in lieu of
counsel retained by Debtor(s) as needed. If possible, Debtor’s counsel will advise Debtor(s) of the use of
coverage counsel for any hearings prior to that hearing. Debtor(s) acknowledge that coverage counsel
may not be a member of my firm and may or may not be compensated for their appearance.

                                        /s/ CM
                                   _______________                _______________
                                   Debtor(s) Initials             Debtor(s) Initials

         (b) The Debtor(s) DO NOT agree that coverage counsel may appear at hearings on their behalf in
lieu of counsel retained by Debtor(s) as needed. All appearances related to the Debtor(s) matter will be
made by me, the undersigned attorney, or members of my law firm.

                                   _______________                _______________
                                   Debtor(s) Initials             Debtor(s) Initials




                                                        2
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6.    The Debtor(s) have reviewed this Disclosure and it is consistent with the terms of the Retainer
Agreement.


      02/22/2023                                /s/ Christian G. Monne
Date: __________________________                _________________________________
                                                Debtor


      02/22/2023
Date: __________________________                _________________________________
                                                Joint Debtor


      02/22/2023                                /s/ David Stevens, 034422007
Date: __________________________                _________________________________
                                                Debtor’s attorney




                                                                                                 rev. 8/1/21




                                                   3
